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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )               Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

       On February 6, 2019, the parties filed their joint response [Dkt. # 497] to the Court’s

February 4, 2019 Order soliciting proposed redactions to the transcript of the hearing that had

been conducted under seal on February 4, 2019. The parties were in agreement with respect to

the overwhelming majority of the redactions, but they notified the Court of a dispute with respect

to a limited portion of the transcript: pages 76 through 80. The Court heard argument with

respect to the disputed redactions at the continuation of the sealed hearing on February 13, 2019.

In consideration of the matters discussed at the hearing, as well as the defendant’s additional

sealed submission on this issue [Dkt. # 506], the Court hereby orders that certain portions of the

transcript will be unredacted and made part of the public record, and that the remainder of

defendant’s requests to unseal are denied.

       Specifically, on page 76, the following changes will be made:

   •   line 13: the words “at the U.S. embassy in” will be unredacted; the rest of redacted
       portion of the line will remain redacted

   •   line 14: the words “the Ukraine” will be unredacted and the rest of the line will remain
       redacted

   •   line 15: the words “that Mr. Kilimnik has been” will be unredacted; the rest of the line
       will remain redacted
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   •    line 16: the first two words of the line will remain redacted; the words “the United States
        State Department” will be unredacted.

   •    line 18: the remainder of the line will be unredacted

   •    line 19: the words “Department officials” will be unredacted. There will be no other
        changes to line 19 or to the rest of page 76.

There will be no changes to pages 77, 78, 79, or 80.

        The court reporter is directed to make available to the public the partially redacted

transcript of the February 4, 2019 hearing with a revised page 76.

        SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE:          February 14, 2019




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